Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 1 of 6
Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 2 of 6
Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 3 of 6
Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 4 of 6
Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 5 of 6
Case 1:15-cr-00104-AWI-SKO Document 137 Filed 12/28/15 Page 6 of 6
